Case: 1:10-cv-04821 Document #: 1 Filed: 07/30/10 Page 1 of 4 PagelD #:1

 

 

 

 

 

 

 

 

 

 

 

UNITED STATES DISTRICT COURT
FOR THE NORTHERN 5 oN rane E
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“i Oa, HL 3 079
_— eruit, ACTION“? Mica. on noe
(Name of the plaintiff or plaintiffs) a, AVHAEL w CORBIN
, 10cv4g2 s
, * ¥. t 1 d
: _. J RY
Cy of Chieege Mose SHADUR
f f G. JUDGE FINNE
GAN
(Namie of the défendant or defendants)
COMPLAINT OF EMPLOYMENT DISCRIMINATION
1. This is an action for employment discrimination.
2. The plaintiff is Sauce Ore of the county of
C & of q . in the state of L L .
3. Thedefendantis C chy or eC hicage , Whose street address
af ¢

is JHU US. Meebo
(city) Chicweer (county) Cat stare TC zip) E 6E 67

 

{Defendant's telephone number) ( )-~
1? The plaintiff sought employment or was employed by the defendant at (street address)

AU bee, Mocha St (city) Chere 2 |
(county) © 377/C- (state) re (ZiP code) 6nd N~7

3. The plaintiff [check one box]
tal} was denied employment by the defendant.
(>) 4 was hired and is still employed by the defendant

lL] was employed but is no longer employed by the defendant.
6. The defendant discrimmated against the plaintiff on or about, or beginning on or about,

(month) Tg aiaey’ (day) KO yea ZOE.

 
Case: 1:10-cv-04821 Document #: 1 Filed: 07/30/10 Page 2 of 4 PagelD #:1

Tl Choose paragraph 7.1 or 7.2, de NOT complete both.

(a) The defendant is not a federal governmental agency, and the plaintiff [check one box]

[nas not Do as filed a charge or charges against the defendant asserting the acts of

discrimination indicated in this complaint with any of the following government agencies:

(i) [J the Untied States Equal Employment Opportunity Commission, on or about
(month) {day) (year) -

{it} Mine Tilinois Department of Human Rights, o me about
(month) FuAe. (day) ie (year) 76 b¢ .

(b} If charges were filed with an agency indicated above, a copy of the charge is ttached. [K] YES. [] NO,

but plaintiff will file a copy of the charge within 14 days.
Itis the policy of both ihe Equal Employment Opportunity Commission and the IHinois Department of Human

Rights io cross-file with the other agency all charges recerved. The plaintiff has no reason lo believe that this
policy was not followed in this case.
7.2 The defendant ts a federal governmental agency, and

(a) the plaintiff previously filed a Complaint of Employment Discrimination with the defendant asserting

the acts of discrimination indicated in this court complaint.

CJ Yes (month) fday)} (year)

C] No, did not file Complaint of Employment Discrimination

2. The plaintiff recerved a Final Agency Decision on (month)

(day) (year)
c. Altiached is a copy of the

a. Complaint of Employment Discrimination,
Ld ves (LINO, butacopy will be filed within 14 days.

(i) Final Agency Decision
CT] YES L] NO, but a copy will be filed within 14 days.

8. (Complete paragraph & only if defendant is not a federal governmental agency.)
Case: 1:10-cv-04821 Document #: 1 Filed: 07/30/10 Page 3 of 4 PagelD #:1

 

13. The facts supporting the plaintiff's claim of discrimination are,as follows:
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Catesod Weatel Gade uetentlel cletres
tlluch hes led Place? te az be chle

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14, [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully discriminated
against the plaintiff.

15. The plaintiff demands that the case be tried by a jury. [Al ves (j NO

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff [cheek only
those that applp|

al] Direct the defendant to hire the plaintiff.

coy] Direct the defendant to re-eniploy the plaintiff,

@L] Direct the defendant to promote the plaintiff.

cayt_| Direct the defendant to reasonably accommodate the plaintiff's religion.

(e} Direct the defendant to reasonably accommodate the plaintiffs disabilities.

od) Direct the defendant to (specify): | SS of foie, abst
3ep0d  4Kd Meccel bells abs less
of alaclitye fe Wor/e :

 

wf. if available, grant the plaintiff appropriate injunctive relief, lost wages, Hquidated/double
damages, front pay, compensatory damages, punitive damages, prejudgment interest, post-
Judgment interest, and costs, including reasonable attomey fees and expert witness fees.

aL Grant such other relief as fhe Court may find appropriate.
Se

tea K Wee Vs

Plaintiff's signature

Seucuel Lal ome

Plaintiff's name
Case: 1:10-cv-04821 Document #: 1 Filed: 07/30/10 Page 4 of 4 PagelD #:1

Plaintiff's street address a 3B O ( C. Ky. / £4 [L- Ae t # ps e
Chic Age
City Clee ? State rc Zip (cep ( Z

Plaintiff's telephone number OL AeA = SIS 3

 

Date:

 
